Case 5:21-cv-00844-XR Document 748-4 Filed 09/02/23 Page 1 of 10




                Exhibit 3
                                Case 5:21-cv-00844-XR Document 748-4 Filed 09/02/23 Page 2 of 10
Table: DECENNIALPL2020.P2



                  HISPANIC OR LATINO, AND NOT HISPANIC OR LATINO BY RACE

Note: The table shown may have been modified by user selections. Some information may be missing.

DATA NOTES
TABLE ID:                     P2
SURVEY/PROGRAM:               Decennial Census
VINTAGE:                      2020
DATASET:                      DECENNIALPL2020
PRODUCT:                      DEC Redistricting Data (PL 94‐171)
UNIVERSE:                     Total population
FTP URL:                      https://www2.census.gov/programs‐surveys/decennial/2020/data/

API URL:                      https://api.census.gov/data/2020/dec/pl

USER SELECTIONS
TABLES                        P2
GEOS                          Texas

EXCLUDED COLUMNS              None

APPLIED FILTERS               None

APPLIED SORTS                 None

PIVOT & GROUPING
PIVOT COLUMNS                 None
PIVOT MODE                    Off
ROW GROUPS                    None
VALUE COLUMNS                 None

WEB ADDRESS                   https://data.census.gov/table?q=P2:+HISPANIC+OR+LATINO,+AND+NOT+HISPANIC+OR+LATINO+BY+RACE&g=040XX00US48
                              &tid=DECENNIALPL2020.P2




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                                Case 5:21-cv-00844-XR Document 748-4 Filed 09/02/23 Page 3 of 10
Table: DECENNIALPL2020.P2


TABLE NOTES                   Note: For information on data collection, confidentiality protection, nonsampling error, and definitions, see 2020 Census
                              Redistricting Data (Public Law 94‐171) Summary File Technical Documentation.

                              For information on the statistical methods used to protect confidentiality in these tables, see Disclosure Avoidance and the
                              2020 Census.
                              Source: U.S. Census Bureau, 2020 Census Redistricting Data (Public Law 94‐171)


COLUMN NOTES                  None




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                               Case 5:21-cv-00844-XR Document 748-4 Filed 09/02/23 Page 4 of 10
Table: DECENNIALPL2020.P2


  Label                               Texas
Total:                              29,145,505
 Hispanic or Latino                 11,441,717
 Not Hispanic or Latino:            17,703,788
   Population of one race:          16,817,693
     White alone                    11,584,597

     Black or African American alone 3,444,712
     American Indian and Alaska
     Native alone                    85,425
     Asian alone                     1,561,518
     Native Hawaiian and Other
     Pacific Islander alone          27,857
     Some Other Race alone           113,584

   Population of two or more races: 886,095
    Population of two races:        835,478
      White; Black or African
      American                      185,160
      White; American Indian and
      Alaska Native                 266,895
      White; Asian                  155,868
      White; Native Hawaiian and
      Other Pacific Islander        9,479
      White; Some Other Race        139,378
      Black or African American;
      American Indian and Alaska
      Native                        23,290
      Black or African American;
      Asian                         16,569
      Black or African American;
      Native Hawaiian and Other
      Pacific Islander              3,231


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                               Case 5:21-cv-00844-XR Document 748-4 Filed 09/02/23 Page 5 of 10
Table: DECENNIALPL2020.P2


  Label                               Texas
      Black or African American;
      Some Other Race                17,944
      American Indian and Alaska
      Native; Asian                  2,257
      American Indian and Alaska
      Native; Native Hawaiian and
      Other Pacific Islander         340
      American Indian and Alaska
      Native; Some Other Race        940
      Asian; Native Hawaiian and
      Other Pacific Islander         9,581
      Asian; Some Other Race         4,221
      Native Hawaiian and Other
      Pacific Islander; Some Other
      Race                           325
     Population of three races:      45,808
      White; Black or African
      American; American Indian
      and Alaska Native              18,196
      White; Black or African
      American; Asian                6,846
      White; Black or African
      American; Native Hawaiian
      and Other Pacific Islander     828
      White; Black or African
      American; Some Other Race      4,412
      White; American Indian and
      Alaska Native; Asian           4,562
      White; American Indian and
      Alaska Native; Native
      Hawaiian and Other Pacific
      Islander                       631


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                               Case 5:21-cv-00844-XR Document 748-4 Filed 09/02/23 Page 6 of 10
Table: DECENNIALPL2020.P2


  Label                               Texas
      White; American Indian and
      Alaska Native; Some Other
      Race                           1,502
      White; Asian; Native
      Hawaiian and Other Pacific
      Islander                       4,990
      White; Asian; Some Other
      Race                           1,198
      White; Native Hawaiian and
      Other Pacific Islander; Some
      Other Race                     128
      Black or African American;
      American Indian and Alaska
      Native; Asian                  571
      Black or African American;
      American Indian and Alaska
      Native; Native Hawaiian and
      Other Pacific Islander         109
      Black or African American;
      American Indian and Alaska
      Native; Some Other Race        596
      Black or African American;
      Asian; Native Hawaiian and
      Other Pacific Islander         628
      Black or African American;
      Asian; Some Other Race         332
      Black or African American;
      Native Hawaiian and Other
      Pacific Islander; Some Other
      Race                           76




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                               Case 5:21-cv-00844-XR Document 748-4 Filed 09/02/23 Page 7 of 10
Table: DECENNIALPL2020.P2


  Label                               Texas
      American Indian and Alaska
      Native; Asian; Native
      Hawaiian and Other Pacific
      Islander                       55
      American Indian and Alaska
      Native; Asian; Some Other
      Race                           20
      American Indian and Alaska
      Native; Native Hawaiian and
      Other Pacific Islander; Some
      Other Race                     10
      Asian; Native Hawaiian and
      Other Pacific Islander; Some
      Other Race                     118
     Population of four races:       4,170
      White; Black or African
      American; American Indian
      and Alaska Native; Asian       1,569
      White; Black or African
      American; American Indian
      and Alaska Native; Native
      Hawaiian and Other Pacific
      Islander                       194
      White; Black or African
      American; American Indian
      and Alaska Native; Some
      Other Race                     1,001
      White; Black or African
      American; Asian; Native
      Hawaiian and Other Pacific
      Islander                       384




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                               Case 5:21-cv-00844-XR Document 748-4 Filed 09/02/23 Page 8 of 10
Table: DECENNIALPL2020.P2


  Label                              Texas
      White; Black or African
      American; Asian; Some Other
      Race                         288
      White; Black or African
      American; Native Hawaiian
      and Other Pacific Islander;
      Some Other Race              28
      White; American Indian and
      Alaska Native; Asian; Native
      Hawaiian and Other Pacific
      Islander                     393
      White; American Indian and
      Alaska Native; Asian; Some
      Other Race                   81
      White; American Indian and
      Alaska Native; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race    2
      White; Asian; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race    96
      Black or African American;
      American Indian and Alaska
      Native; Asian; Native
      Hawaiian and Other Pacific
      Islander                     67
      Black or African American;
      American Indian and Alaska
      Native; Asian; Some Other
      Race                         23




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                               Case 5:21-cv-00844-XR Document 748-4 Filed 09/02/23 Page 9 of 10
Table: DECENNIALPL2020.P2


  Label                                  Texas
      Black or African American;
      American Indian and Alaska
      Native; Native Hawaiian and
      Other Pacific Islander; Some
      Other Race                     5
      Black or African American;
      Asian; Native Hawaiian and
      Other Pacific Islander; Some
      Other Race                     39
      American Indian and Alaska
      Native; Asian; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race      0
     Population of five races:       581
      White; Black or African
      American; American Indian
      and Alaska Native; Asian;
      Native Hawaiian and Other
      Pacific Islander               305
      White; Black or African
      American; American Indian
      and Alaska Native; Asian;
      Some Other Race                203
      White; Black or African
      American; American Indian
      and Alaska Native; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race      30
      White; Black or African
      American; Asian; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race      21


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                               Case 5:21-cv-00844-XR Document 748-4 Filed 09/02/23 Page 10 of 10
Table: DECENNIALPL2020.P2


  Label                               Texas
      White; American Indian and
      Alaska Native; Asian; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race      16
      Black or African American;
      American Indian and Alaska
      Native; Asian; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race      6
     Population of six races:        58
      White; Black or African
      American; American Indian
      and Alaska Native; Asian;
      Native Hawaiian and Other
      Pacific Islander; Some Other
      Race                           58




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